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                                                                    1 WEILAND GOLDEN GOODRICH LLP
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                                                                      650 Town Center Drive, Suite 600
                                                                    4 Costa Mesa, California 92626
                                                                      Telephone 714-966-1000
                                                                    5 Facsimile    714-966-1002

                                                                    6 Attorneys for Chapter 7 Trustee
                                                                      Jeffrey I. Golden
                                                                    7

                                                                    8                               UNITED STATES BANKRUPTCY COURT

                                                                    9                                CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                       SANTA ANA DIVISION

                                                                   11 In re                                             Case No. 8:18-bk-13588-SC
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 TIM M. McKENNA,                                   Chapter 7
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13                  Debtor.

                                                                   14
                                                                      JEFFREY I. GOLDEN, Chapter 7 Trustee              Adv. No. 8:19-ap-01176-SC
                              Tel 714-966-1000




                                                                   15 for the estate of Tim M. McKenna,
                                                                                                                        STIPULATION TO AMEND SCHEDULING
                                                                   16                  Plaintiff,                       ORDER AND EXTEND DISCOVERY
                                                                                                                        DEADLINES
                                                                   17           v.

                                                                   18 JASON CAUFIELD, individually and as
                                                                      trustee of the Caufield Revocable Trust,
                                                                   19
                                                                                     Defendant.
                                                                   20

                                                                   21
                                                                        TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY
                                                                   22
                                                                        JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; AND ALL PARTIES
                                                                   23
                                                                        ENTITLED TO NOTICE:
                                                                   24
                                                                                This stipulation ("Stipulation") is entered into by and between Jeffrey I. Golden, the
                                                                   25
                                                                        duly appointed and acting chapter 7 trustee ("Trustee") of the bankruptcy estate ("Estate")
                                                                   26
                                                                        of Tim M. McKenna ("Debtor"), Robert S. Whitmore, in his capacity as the chapter 7
                                                                   27
                                                                        trustee ("MGE Trustee") of the bankruptcy estate of McKenna General Engineering, Inc.
                                                                   28
                                                                        1248383.1                                                                         STIPULATION
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                                                                    1 ("MGE"), Howard B. Grobstein, in his capacity as the chapter 7 trustee ("Irontrac Trustee")

                                                                    2 of the bankruptcy estate of Irontrac, Inc. ("Irontrac"), and Jason Caufield ("Defendant", and

                                                                    3 collectively with the Trustee, MGE Trustee, and Irontrac Trustee, the "Parties"), by and

                                                                    4 through their respective counsel. The Parties stipulate and agree as follows:

                                                                    5                                           RECITALS
                                                                    6           A.    On September 27, 2018, Debtor filed a voluntary chapter 7 bankruptcy

                                                                    7 petition, commencing Case No. 8:18-bk-13588-SC.

                                                                    8           B.    On September 21, 2018, MGE filed a voluntary chapter 7 bankruptcy

                                                                    9 petition, commencing Case No. 6:18-bk-18036-SY. Debtor was the principal of MGE.

                                                                   10           C.    On September 25, 2018, Irontrac filed a voluntary chapter 7 bankruptcy

                                                                   11 petition, commencing Case No. 6:18-bk-18109-SY. Debtor was the president and principal
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 shareholder of Irontrac.
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13           D.    On August 29, 2019, the Trustee filed a complaint ("Complaint") against

                                                                   14 Defendant for the avoidance, preservation, and recovery of fraudulent transfers pursuant
                              Tel 714-966-1000




                                                                   15 to 11 U.S.C. §§ 548, 550, and 551.

                                                                   16           E.    The Trustee filed a Status Conference and Scheduling Order Pursuant to

                                                                   17 LBR 7016-1(a)(4) ("Scheduling Order") on December 6, 2019.

                                                                   18           F.    The transfers described in the Complaint include the transfer of assets that

                                                                   19 were property of MGE and Irontrac, respectively, at the time of transfer, and therefore the

                                                                   20 claims resulting from the transfer of such property are assets of each respective

                                                                   21 bankruptcy estate. As a result, Trustee will file an amended complaint specifying the

                                                                   22 ownership interests of each of the assets involved in the transfers.

                                                                   23           G.    The Parties have agreed to modify the Scheduling Order.

                                                                   24                                         STIPULATION
                                                                   25           NOW, THEREFORE, based upon the foregoing recitals, and subject to Court

                                                                   26 approval, the Parties hereby stipulate and agree as follows:

                                                                   27           1.    The Trustee may file an amended complaint on or before January 9, 2020.

                                                                   28
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                                                                    1           2.   The MGE Trustee and Irontrac Trustee may file cross-claims related to the

                                                                    2 Complaint or amended complaint on or before January 30, 2020.

                                                                    3           3.   Defendant may file an answer to the amended complaint and cross-claims

                                                                    4 on or before March 3, 2020.

                                                                    5           4.   The status conference, currently set for May 27, 2020 at 10:00 a.m. will be

                                                                    6 continued to August 5, 2020, at 11:00 a.m.

                                                                    7           5.   A pre-trial conference, currently set for May 27, 2020 at 10:00 a.m. will be

                                                                    8 continued to August 5, 2020, at 11:00 a.m.

                                                                    9           6.   The last day for pre-trial motions to be filed and served is continued to July

                                                                   10 7, 2020.

                                                                   11
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




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                                                                   14
                              Tel 714-966-1000




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                                                                   1            7.   The last day for discovery to be completed is continued to June 9, 2020.

                                                                   2

                                                                   3     DATED: January 9, 2020                     WEILAND GOLDEN GOODRICH LLP

                                                                   4
                                                                                                                    By:__/s/ Reem J. Bello _____________
                                                                   5                                                    REEM J. BELLO
                                                                                                                        RYAN W. BEALL
                                                                   6                                                    Attorneys for Chapter 7 Trustee
                                                                                                                        JEFFREY I. GOLDEN
                                                                   7

                                                                   8     DATED: January___, 2020                    MARSHACK HAYS LLP
                                                                   9
                                                                                                                    By:_____________________________
                                                                   10                                                   D. EDWARD HAYS
                                                                                                                        CHAD V. HAES
                                                                   11                                                   TINHO MANG
                                                                                                                        Attorneys for Chapter 7 Trustee of the
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12
                               650 Town Center Drive, Suite 600




                                                                                                                        Bankruptcy Estate of McKenna
                                  Costa Mesa, California 92626




                                                                                                                        General Engineering, Inc.,
                                                                   13                                                   ROBERT S. WHITMORE
                                                                   14    DATED: January__, 2020                     MARGULIES FAITH, LLP
                              Tel 714-966-1000




                                                                   15
                                                                                                                    By:_____________________________
                                                                   16                                                   JEREMY W. FAITH
                                                                                                                        MEGHANN A. TRIPLETT
                                                                   17                                                   Attorneys for Chapter 7 Trustee of the
                                                                                                                        Bankruptcy Estate of Irontrac, Inc.,
                                                                   18                                                   HOWARD B. GROBSTEIN
                                                                   19    DATED: January___, 2020                    BROWN AND BROWN LLP
                                                                   20
                                                                                                                    By:_____________________________
                                                                   21
                                                                                                                        TYLER H. BROWN
                                                                   22                                                   Attorneys for Defendant,
                                                                                                                        JASON CAUFIELD
                                                                   23

                                                                   24

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                                                                        1248383.1                                  4                                 STIPULATION
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1           7.   The last day for discoverytobe completed is continued to June 9, 2020.

2

3    DATED: January_, 2020                    WEILAND GOLDEN GOODRICH LLP

4
5                                                  REEM J. BELLO
                                                   RYAN W. BEALL
6
                                                   fE#]:EvfFrGcg:BtEh7Trustee
7

8    DATED: January_, 2020                     MARSHACK HAYS LLP

 9

10                                                 D. EDWARD HAYS
                                                   CHAD V. HAES
                                                   TINHO MANG



                                                   !iFiiRijE!og:;::eiii:f:fRc:K?:tneaeofthe
     DATED: JanuaryL£, 2020
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18                                                  HOWAED§BE%hR:BSTEiN               f h
19                                             BROWN AND BROWN LLP
     DATED: January_, 2020
20

21                                                  TYLER H. BROWN
22                                                  fx:rg&y8AourFPEfLeBdant'
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24

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     1248383.1
                                                                                  STIPULATION
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Stipulation to Amend Scheduling Order and Extend
Discovery Deadlines
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 9, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 9, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 9, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Personal Delivery
Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/9/2020                       Victoria Rosales
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Ryan W Beall rbeall@lwgfllp.com, vrosales@wgllp.com;kadele@wgllp.com
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Helen@MarguliesFaithlaw.com;Victoria@MarguliesFaithlaw.com;Noreen@MarguliesFaithlaw.com;Angela@MarguliesFait
hlaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
